       Case 2:13-cr-00165-TLN Document 70 Filed 07/28/14 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                              ) Case No. 2:13-cr-165 TLN
11                                                          )
                      Plaintiff,                            ) STIPULATION AND ORDER CONTINUING
12                                                          ) STATUS CONFERENCE
            vs.                                             )
13                                                          ) Date: August 28, 2014
     STACEY MISTLER,                                        ) Time: 9:30 a.m.
14                                                          ) Judge: Hon. Troy L. Nunley
                      Defendant.                            )
15                                                          )
                                                            )
16
             The United States of America, by and through Olusere Olowoyeye, Assistant United
17
     States Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon,
18
     Assistant Federal Defender, agree to vacate the change of plea date of July 31, 2014 and set it for
19
     August 28, 2014 at 9:30 a.m. for the following reason:
20
             The reason for the request is to allow defense counsel to review the proposed plea
21
     agreement with the defendant in preparation for her change of plea.
22
             The parties agree that the Court should exclude time from computation under the Speedy
23
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to
24
     provide defense counsel with the reasonable time to prepare, and that the ends of justice to be
25
     served by granting the continuance outweigh the best interests of the public and the defendant in
26
     a speedy trial. The exclusion of time is from July 28, 2014 until August 28, 2014.
27
28

      Stipulation and Order to Continue Status Conference                     U.S. v. Mistler, et al., 13-cr-165 TLN
       Case 2:13-cr-00165-TLN Document 70 Filed 07/28/14 Page 2 of 2


1
                                                            Respectfully submitted,
2
3    Dated: July 28, 2014                                   HEATHER E. WILLIAMS
                                                            Federal Defender
4
5                                                           /s/ MATTHEW C. BOCKMON
                                                            MATTHEW C. BOCKMON
6                                                           Assistant Federal Defender
7                                                           Attorney for Defendant
                                                            STACEY MISTLER
8
9    Dated: July 28, 2014                                   BENJAMIN B. WAGNER
                                                            United States Attorney
10
11                                                          /s/ Matthew C. Bockmon for
                                                            OLUSERE OLOWOYEYE
12                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
13
14
                                                            ORDER
15
             Based on the reasons set forth in the stipulation of the parties filed on July 28, 2014, and
16
     good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT
17
     IS HEREBY ORDERED that the change of plea currently set for Thursday, July 31, 2014, be
18
     vacated and set for Thursday, August 28, 2014, at 9:30 a.m. The Court finds that the ends of
19
     justice to be served by granting a continuance outweigh the best interests of the public and the
20
     defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons
21
     stated in the parties’ July 28, 2014 stipulation, the time within which the trial of this matter must
22
     be commenced under the Speedy Trial Act is excluded during the time period of July 28, 2014,
23
     through and including August 28, 2014, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and
24
     Local Code T4.
25
     Dated: July 28, 2014
26
27                                                                 Troy L. Nunley
                                                                   United States District Judge
28

      Stipulation and Order to Continue Status Conference                             U.S. v. Mistler, et al., 13-cr-165 TLN
